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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No.: 2:10-cv-01689-JLS-AJW                                    Date: September 19, 2018
  Title: Securities and Exchange Commission v. Francois E. Durmaz et al.

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

             Terry Guerrero                                            N/A
               Deputy Clerk                                      Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

                Not Present                                      Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING RECEIVER’S
               MOTION FOR APPROVAL (Doc. 111)

         Before the Court is Receiver Stephen Donnell’s Motion for Approval of (1)
  Receiver’s Final Account and Report and Compensation [sic]; (2) Request for
  Compensation of Receiver’s Counsel and Accountant; (3) Discharge of the Receiver; (4)
  Abandonment or Destruction of Books and Records; (5) Disbursement of Remaining
  Funds; and (6) Exoneration of the Bond. (Mot., Doc. 111.) No opposition to the Motion
  has been filed. For the following reasons, the Court GRANTS the Motion.

       I.   BACKGROUND

         In March 2010, the SEC filed a Complaint against Defendants Francois Durmaz,
  a/k/a Mahmut Durmaz, Robert Pribilski, USA Retirement Management Services, a/k/a
  USA Financial Management Services Inc., and Relief Defendants Sibel Ince, Mehmet
  Karakus, Marlali Gayrimenkul Yatirimlari, Marlali Property Investment Company, LLC,
  and Gulen Enterprises, Inc. (Compl., Doc. 1.) The Complaint alleged that Defendants
  perpetrated an investment scheme whereby they defrauded investors and misappropriated
  investment funds in violation of federal securities laws.




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          On March 9, 2010, the Court 1 issued a Temporary Restraining Order in which it
  appointed Stephen Donnell as Temporary Receiver for Defendant USA Retirement
  Management Services (“USA”) and all associated entities, including subsidiaries and
  affiliates, controlled by Defendants Durmaz and Pribliski. (TRO, Doc. 10.) On March
  24, 2010, the Court issued an Order appointing Donnell as Permanent Receiver.
  (Preliminary Injunction at 7–8, Doc. 25.) Pursuant to his appointment, the Receiver was
  empowered and directed to take custody of all assets belonging to the Receivership
  entities and to manage or liquidate those assets in order to recover funds for the benefit of
  defrauded individuals. (Id.) Additionally, the Receiver was empowered to engage
  attorneys, accountants, and other persons necessary to assist in investigation, discovery,
  and prosecution of all claims related to the Receivership. (Id. at 8–9.)
          For the past eight years, the Receiver has worked competently and diligently to
  investigate a complex misappropriation scheme and properly administer the Receivership
  Estate. (See First Interim Rpt., Ex. D to Mot., Doc. 111-4.) To assist in his duties, the
  Receiver engaged the law firm of Ervin, Cohen, & Jessup (ECJ) as general counsel and
  the accounting firm of Crowe Horwath (Crowe) as a forensic and tax accountant. (Mem.
  at 6.) On May 6, 2010, the Court ratified the employment of these professionals and
  granted the Receiver’s Motion to liquidate the assets of the Receivership. (Order
  Ratifying Employment & Liquidation, Doc. 33.)
          On June 28, 2010, the Receiver filed a First Status Report that detailed the
  inventory of assets of the Receivership and the progress of the liquidation efforts. (First
  Status Rpt., Ex. E to Mot., 111-5.) Although a substantial portion of misappropriated
  funds were held in Turkey and therefore unrecoverable, the Receiver was nonetheless
  able to recover $940,712.48. (Final Accounting Rpt. at 45, Ex. C. to Mot., Doc. 111-3.)
  On September 28, 2010, the Court approved the Receiver’s Claims Procedure, by which
  potential claimants could make claims against the recovered funds. (See Order
  Approving Claims Procedure, Doc. 49.) During this process, the Court granted two

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            For the sake of simplicity, the Court refers to all prior orders in this case as orders of
  this Court. However, the Court notes that the Honorable George H. Wu presided over this case
  prior to August 18, 2010, when it was transferred to this Court’s docket. (See Doc. 44.)
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  interim fee applications, awarding $349,481.16 to the Receiver; $116,753.83 to ECJ; and
  $144,179.91 to Crowe. (See Docs. 71, 97.)
          In April 2011, due to certain confidential issues that arose during administration of
  the Receivership, the Receiver applied for and was granted authorization to employ
  special counsel. (Order Authorizing Special Counsel, Doc. 78.) Special counsel incurred
  $14,665.00 in fees and expenses, which were paid out of the Receivership Estate. (Mem.
  at 11.)
          Finally, on April 12, 2012, the Court entered final judgment against all
  Defendants. (Judgment, Doc. 105.)
          On December 22, 2017, the Receiver moved for discharge, termination of the
  Receivership, and compensation for the Receiver and his retained professionals. (Doc.
  106.) However, the Court denied the Reciever’s motion without prejudice because there
  were certain accounting discrepancies between the motion and the underlying documents.
  After rectifying those errors, the Receiver filed the instant Motion.

      II.   FEE REQUEST

            A. Legal Standard

         In a securities fraud action, the district court may establish a receivership to
  prevent the defendants from further dissipating the investors’ assets. S.E.C. v. J.T.
  Wallenbrock & Associates, 584 Fed. App’x 424, 425 (9th Cir. 2014). “The court
  appointing the receiver has full power to fix the compensation of such receiver and the
  compensation of the receiver’s attorney or attorneys.” Drilling & Expl. Corp. v. Webster,
  69 F.2d 416, 418 (9th Cir. 1934). The time, labor, and skill of the receiver, along with
  the magnitude of the project, are factors a court may consider when approving fees.
  S.E.C. v. Med. Capital Holdings, Inc., No. SACV 09:08-18-DOC (RNBx), 2016 WL
  9211652, at *1 (C.D. Cal. Oct. 14, 2016). The Court considers similar factors in
  calculating fees for the receiver’s professionals. S.E.C. v. Stinson, No. 10–3130, 2015
  WL 115495, at *3 (E.D. Pa. Jan. 8, 2015).

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         Moreover, courts give “great weight” to acquiescence by the SEC to the fee
  application. Id.; accord Med. Capital Holdings, 2016 WL 9211652, at *1.

              B. Discussion

         The Receiver now requests compensation for fees and expenses incurred since
  February 9, 2012, the most recent date in which the Court approved a distribution. (See
  Doc. 97.)
         The following chart sets forth the fees and expenses incurred in total over the
  period of the Receivership, the compensation previously approved by the Court, and the
  compensation requested by the instant Motion:

                  Total Fees/Expenses          Fees/Expenses             Fees/Expenses
                        Incurred                 Approved                 Requested

   Receiver        $402,523.13 (Fees)        $331,712.64 (Fees)        $70,810.49 (Fees)

                 $17,234.81 (Expenses)     $15,868.52 (Expenses)     $1,366.29 (Expenses)

   ECJ                $167,748.17               $132,144.83            $29,998.35 (Fees)

                                                                     $5,604.99 (Expenses)

   Crowe              $182,184.48               $144,608.41            $37,100.60 (Fees)

                                                                      $475.47 (Expenses)


         In addition to the Receiver’s compensation request, there are fourteen priority
  claims to Receivership Estate; the first is an administrative claim by 2121 Avenue of the
  Stars, LLC for $29,243.46 (Order re: 2121 Avenue of the Stars, Ex. G to Mot., Doc. 111-
  7), and the remaining thirteen are wage claims by former employees of the Receivership
  Entities, which total $22,486.52. However, the majority of recovered funds have already

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  been exhausted by the costs of administration, and the total remaining balance of the
  Receivership assets is $71,629.30. (Mem. at 14–15.)
         When, as here, there are insufficient funds in a receivership estate to satisfy all
  claims, the costs and expenses of the receiver and his retained professionals are entitled
  to highest priority of distribution, as consistent with principles of bankruptcy law. 2
  Clark on Receivers § 482 (3d 2d. 1992). See C.D. Cal. R. 66-3 (“[A] receiver shall
  administer the estate as nearly as possible in accordance with the practice in the
  administration of estates in bankruptcy.”); 11 U.S.C. § 507(a)(1)(C).
         Accordingly, the Receiver, ECJ, and Crowe are entitled to distribution of the
  remaining balance of the Receivership Estate. In the event that funds become available,
  the Receiver will distribute those funds on a pro rata basis to pay the priority claims of
  2121 Avenue of the Stars and employee wages. (Mem. at 15.)
         The Receiver proposes the following distribution, which compensates each
  professional with roughly 65% of fees owed and 100% of expenses owed:
                    Fees Incurred         Fees Requested           Expenses Due/Expenses
                    since 02/09/12                                        Requested
   Receiver           $70,810.49             $32,954.98                   $1,366.29
   ECJ                $29,998.35             $13,961.14                   $5,604.99
   Crowe              $37,100.60             $17,266.51                    $475.47

          The Court finds the proposed plan of distribution reasonable. Moreover, the Court
  has reviewed the billing records and expense receipts submitted by the Receiver, which
  delineate the total incurred since the Court’s last fee approval. (See Doc. 97.) The Court
  finds the hours billed are reasonable in light of the complexity of the case and the length
  of the time of the Receivership, see Med. Capital Holdings, Inc., 2016 WL 9211652, at
  *2, and they are adequately documented by specific billing entries. (See Exs. A–C to
  Moldo Decl., Docs. 116-1, 116-2, 116-3.) Moreover, the rates charged reflect a discount
  from the Receiver’s usual billing rate and are consistent with the rates the Court has
  previously approved. (Compare Ex. B to Moldo Decl. at 390 with Doc. 71 at 3.) Finally,
  the SEC has not opposed any aspect of this Motion, and thus “the Court [] construes the
  SEC’s silence as agreement with the reasonableness of the requests.” (See Doc. 71 at 3.)
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            Accordingly, the Court GRANTS the Receiver’s fee request.

     III.      TERMINATION OF RECEIVERSHIP

          A receiver’s motion for approval of discharge and termination of the receivership
  may be granted if the Court finds it reasonable and appropriate to do so. Stooksbury v.
  Ross, No. 3:09-CV-498-TAV-HBG, 2015 WL 11170832, at *2 (E.D. Tenn. Dec. 23,
  2015), report and recommendation adopted, No. 3:09-CV-498-TAV-HBG, 2016 WL
  158533 (E.D. Tenn. Jan. 13, 2016). See also Med. Capital Holdings, Inc., 2016 WL
  9211652, at *2. Local Rules 6-1 and 66-7 require that notice of an application for
  termination and discharge is to be given by mail not later than thirty-one days before the
  date of the hearing on the application. C.D. Cal. R. 6-1, 66-7.
          In accordance with the Local Rules, the Receiver mailed notice of this Motion to
  all interested parties on June 20, 2018. (See Notice of Mot., Doc. 112.) Based on the
  Receiver’s thorough investigation and completion of administration as detailed above, the
  Court finds that it is reasonable and appropriate terminate the Receivership at this
  juncture. Accordingly, the Court GRANTS the Motion for Approval of Final Account
  and Report, Discharge of the Receiver, Abandonment or Destruction of Books and
  Records, Disbursement of Remaining Funds, and Exoneration of the Bond.

     IV.       CONCLUSION

        Pursuant to the foregoing, the Court GRANTS the Receiver’s Motion for
  Approval of 1) Receiver’s Final Account and Report and Compensation; (2) Request for
  Compensation of Receiver’s Counsel and Accountant; (3) Discharge of the Receiver; (4)
  Abandonment or Destruction of Books and Records; (5) Disbursement of Remaining
  Funds; and (6) Exoneration of the Bond.




                                                                        Initials of Preparer: tg
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